         Case 1:15-cv-00662-TSE Document 167 Filed 12/18/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


WIKIMEDIA FOUNDATION,

       Plaintiff,                                                  Hon. T. S. Ellis, III

       v.                                                           Civil Action No.
                                                                   15-cv-00662-TSE
NATIONAL SECURITY AGENCY /
CENTRAL SECURITY SERVICE, et al.,

       Defendants.


                  OUT-OF-TIME MOTION FOR AN EXTENSION OF
                     TIME TO FILE PLAINTIFF’S OPPOSITION
               TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiff Wikimedia Foundation hereby moves out-of-time for an extension from Friday,

December 14, 2018, to Tuesday, December 18, 2018, nunc pro tunc, to file its opposition to

Defendants’ motion for summary judgment. See ECF No. 162. If granted, Plaintiff’s requested

extension would not affect any remaining deadlines for further briefing and oral argument. See

ECF No. 158. For the reasons stated below, Plaintiff respectfully requests that the Court grant its

out-of-time-motion.

       1.      The Court’s Order of September 25, 2018, required Defendants to file their

motion for summary judgment by November 9, 2018. See ECF No. 158.

       2.      On November 5, 2018, Defendants sought Plaintiff’s consent to an extension of

this deadline to November 13, 2018. Plaintiff consented to Defendants’ request, provided that

Defendants would also seek an equivalent extension of Plaintiff’s deadline to file its opposition

from December 14, 2018, to December 18, 2018. Defendants did so in a motion filed with the

Court on November 6, 2018. See ECF No. 159.
         Case 1:15-cv-00662-TSE Document 167 Filed 12/18/18 Page 2 of 3



       3.      On November 13, 2018, while Defendants’ motion for an extension of time was

pending, Defendants filed their motion for summary judgment, as well as an out-of-time motion

for an extension of time. See ECF Nos. 160, 162.

       4.      Because the government’s extension motions remain pending, including its

request that Plaintiff’s opposition deadline be extended by four days, Plaintiff respectfully

requests that the Court extend the deadline for the submission of its opposition to Defendants’

motion for summary judgment to today, December 18, 2018, nunc pro tunc.

       5.      This extension will not prejudice any party to this action or unduly delay these

proceedings, as other deadlines currently on the calendar for further briefing and oral argument

remain unchanged.

       For the foregoing reasons, Plaintiff respectfully requests that the Court extend the

deadline for its opposition to Defendants’ summary judgment motion, nunc pro tunc, from

Friday, December 14, 2018, to Tuesday, December 18, 2018.


Dated: December 18, 2018                               Respectfully submitted,

 /s/ David R. Rocah                                     /s/ Patrick Toomey
David R. Rocah (Bar No. 27315)                         Patrick Toomey (pro hac vice)
Deborah A. Jeon (Bar No. 06905)                        (signed by Patrick Toomey with permission
AMERICAN CIVIL LIBERTIES UNION                            of David R. Rocah)
   FOUNDATION OF MARYLAND                              Ashley Gorski (pro hac vice)
3600 Clipper Mill Rd., #350                            AMERICAN CIVIL LIBERTIES UNION
Baltimore, MD 21211                                      FOUNDATION
Phone: (410) 889-8555                                  125 Broad Street, 18th Floor
Fax: (410) 366-7838                                    New York, NY 10004
rocah@aclu-md.org                                      Phone: (212) 549-2500
                                                       Fax: (212) 549-2654
                                                       ptoomey@aclu.org

Benjamin H. Kleine (pro hac vice)                      Alex Abdo (pro hac vice)
COOLEY LLP                                             Jameel Jaffer (pro hac vice)
101 California Street, 5th Floor                       KNIGHT FIRST AMENDMENT
San Francisco, CA 94111                                  INSTITUTE AT COLUMBIA


                                                 2
         Case 1:15-cv-00662-TSE Document 167 Filed 12/18/18 Page 3 of 3



Phone: (415) 693-2000                         UNIVERSITY
Fax: (415) 693-2222                        475 Riverside Drive, Suite 302
bkleine@cooley.com                         New York, NY 10115
                                           Phone: (646) 745-8500
                                           alex.abdo@knightcolumbia.org


Counsel for Plaintiff




                                       3
